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                                                                      UNITED STATES BANKRUPTCY COURT
                                                                     EASTERN DISTRICT OF NORTH CAROLINA
                                                                                    DIVISION

 Fill in this information to identify your case:
 Debtor 1               Bronnie Brock Brunson
                              First Name            Middle Name                Last Name
 Debtor 2
 (Spouse, if filing)          First Name            Middle Name                Last Name
                                                                                                                         Check if this is an amended plan, and
                                                                                                                         list below the sections of the plan that
                                                                                                                         have been changed.

 Case number:
 (If known)




                                                                            CHAPTER 13 PLAN

 Part 1:       Notices

Definitions:               Definitions of several terms used in this Plan appear online at https://www.nceb.uscourts.gov/local-forms under the heading
                           “Chapter 13 Plan Definitions.” These definitions also are published in the Administrative Guide to Practice and Procedure for the
                           United States Bankruptcy Court for the Eastern District of North Carolina.

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be
                           confirmable.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated if the plan is confirmed.
                           You should read this plan carefully and discuss it with your attorney if you have an attorney in this bankruptcy case. If you do
                           not have an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the United States
                           Bankruptcy Court for the Eastern District of North Carolina (“Court”). The Court may confirm this plan without further
                           notice if no objection to confirmation is filed. In addition, you may need to file a timely proof of claim in order to be paid
                           under any confirmed plan.

                           Only allowed claims will receive a distribution from the Trustee, and all payments made to creditors by the Trustee shall be made
                           in accordance with the Trustee’s customary distribution process. When required, pre-confirmation adequate protection payments
                           shall be paid in accordance with Local Rule 3070-1(c). Unless otherwise ordered by the Court, creditors not entitled to adequate
                           protection payment will receive no disbursements from the Trustee until after the plan is confirmed.

                           The following matters may be of particular importance to you. Debtors must check one box on each line of §§ 1.1, 1.2, and 1.3,
                           below, to state whether or not the plan includes provisions related to each item listed. If an item is checked “Not Included,” or
                           if neither box is checked, or if both boxes are checked, the provision will not be effective, even if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.3, which may result in a             Included                     Not Included
              secured claim being treated as only partially secured or wholly unsecured. This could
              result in the secured creditor receiving only partial payment, or no payment
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set             Included                     Not Included
              out in Section 3.5.
 1.3          Nonstandard provisions, set out in Part 8.                                                          Included                     Not Included


 Part 2: Plan Payments and Length of Plan
2.1 The Debtor(s) shall make regular payments to the Trustee as follows:
      $ 1,316.63 per Month for 57 months

       (Insert additional line(s), if needed.)

2.2 Additional payments. (Check one.)

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                None. (If “None” is checked, the rest of this section need not be completed.)
                The Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below. Describe the source,
                estimated amount, and date of each anticipated payment. (Insert additional rows, if needed.)


2.3 The total amount of estimated payments to the Trustee is $               75,047.91   .

2.4 Adjustments to the Payment Schedule/Base Plan (Check one).

                None.

                Confirmation of this plan shall not prevent an adjustment to the plan payment schedule or plan base. The Trustee or the Debtor(s)
                may seek to modify the plan payment schedule and/or plan base within 60 days after the governmental bar date to accommodate secured
                or priority claims treated in Parts 3 or 4 of this Plan. This provision shall not preclude the Debtor or the Trustee from opposing
                modification after confirmation on any other basis.

2.5 Applicable Commitment Period, Projected Disposable Income, and “Liquidation Test.”
    The Applicable Commitment Period of the Debtor(s) is 36 months, and the projected disposable income of the Debtor(s), as referenced in 11
    U.S.C. § 1325(b)(1)(B), is $ 0.00 per month. The chapter 7 “liquidation value” of the estate of the Debtor(s), as referenced in 11 U.S.C. §
    1325(a)(4), refers to the amount that is estimates to be paid to holders of non-priority unsecured claims. In this case, this amount is $ 0.00

 Part 3:      Treatment of Secured Claims

3.1 Lien Retention.
    The holder of each allowed secured claim provided for below will retain the lien on the property interest of the Debtor(s) or the estate until the
    earlier of:
          (a) payment of the underlying debt determined under nonbankruptcy law, or
          (b) discharge of the Debtor(s) under 11 U.S.C. § 1328.

3.2 Maintenance of Payments and Cure of Default (if any) (Check one.)
        None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
        The current contractual installment payments will be maintained on the secured claims listed below, with any changes required by the
        applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the Trustee
        (“Conduit”) or directly by the Debtor(s), as specified below. Any arrearage listed for a claim below will be paid in full through
        disbursements by the Trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the Court, the amounts listed on a proof
        of claim filed before the filing deadline under Bankruptcy Rule 3002(c) will control over any contrary amounts listed below as to the
        current installment payment and arrearage. In the absence of a timely filed proof of claim, the amounts stated below are controlling as to
        the current installment payment and arrearage. If relief from the automatic stay is ordered as to any item of collateral listed in this
        paragraph, then, unless otherwise ordered by the Court, all payments under this paragraph as to that collateral will cease, and all secured
        claims based on that collateral will no longer be paid by the plan.

 Creditor Name                               Collateral         Current Installment        Arrears Owed                                 Interest Rate
                                                                Payment                    (if any)                                     on Arrearage
                                                                (including escrow)                                                      (if appliable)
 BSI Mortgage                    Doublewide and Lot 260 Vanborn                    $689.00            $2,067.00                         7.50%
                                 Drive Lumberton, NC 28360          To be disbursed by:
                                 Robeson County                    Trustee
                                                                   Debtor(s)
    Insert additional claims as needed.

      Other. (Check all that apply, and explain.) The Debtor(s):
      (a)      do intend to seek a mortgage modification with respect to the following loan(s) listed above:


      (b)          do not intend to seek mortgage modification with respect to the following loan(s) listed above;

      (c)          intend to:

3.3 Request for Valuation of Security and Modification of Undersecured Claims. (Check one)

              None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

      The remainder of this paragraph will be effective only if there is a check in the box “Included” in Part 1, § 1.1, of this plan, above.
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Requests for Valuation of Collateral and Modification of Undersecured Claims for Real Estate may not be accomplished in this district in
the absence of the filing and proper service of a motion and notice of motion specifically seeking such relief and giving the affected creditor
the opportunity to object to the motion and request a hearing. Note that a separate motion must be brought if the collateral is real estate, but
not if the collateral is personal property.

              The Debtor(s) request that the Court determine the value of the collateral securing each of the claims listed below. For each
              non-governmental secured claim listed below, the Debtor(s) propose to treat each claim as secured in the amount set out in the column
              headed “Amount of Secured Claim.” For secured claims of governmental units, unless otherwise ordered by the Court, the value of the
              collateral listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary valuation amount listed
              below. For each listed claim, the amount of the secured claim will be amortized and paid with interest at the stated rate over the life of
              the plan. The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part
              5 of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s entire claim will be treated as
              an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on its
              proof of claim controls over any contrary amount listed in this paragraph. Secured creditors entitled to pre-confirmation adequate
              protection payments will receive the same pursuant to E.D.N.C. LBR 3070-1(c).

   Creditor Name          Estimated         Collateral                    Value of Collateral    Amount of Claims        Amount of Secured             Interest
                          Amount of                                                             Senior to Creditor's         Claim                       Rate
                       Creditor's Total                                                                Claim
                            Claim
 CNS Port                    $15,685.00 2016 Dodge                                $15,685.00                    $0.00              $15,685.00 7.50%
 Services                               Journey 88 k
                                        miles miles
                                        910 Claim
    Insert additional claims as needed.


3.4 Claims Excluded from 11 U.S.C. § 506(a). (check one)

              None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Avoidance of Judicial Liens or Nonpossessory, Nonpurchase-Money Security Interests.
    (Check one)

              None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6 Surrender of Collateral. (Check one.)
         None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.

 Part 4: Treatment of Fees and Priority Claims
4.1 General Treatment: Unless otherwise indicated in this Part or in Part 8, Nonstandard Plan Provisions, the Trustee’s fees and all allowed
     priority claims, will be paid in full without interest through Trustee disbursements under the plan.

4.2 Trustee’s Fees: Trustee’s fees are governed by statute and orders entered by the Court and may change during the course of the case. The
    Trustee’s fees are estimated to be 10.00 % of amounts disbursed by the Trustee under the plan and are estimated to total $ 4,502.87 .

4.3 Debtor’s Attorney’s Fees. (Check one, below, as appropriate.)
             Debtor(s)’ attorney has agreed to accept as a base fee $ 2,080.00 , of which $ 80.00                      was paid prior to filing. The
             Debtor(s)' attorney requests that the balance of $ 2,000.00 be paid through the plan.

                     The Debtor(s)' attorney intends to apply or has applied to the Court for compensation for services on a “time and expense” basis, as
                     provided in Local Rule 2016-1(a)(7). The attorney estimates that the total amount of compensation that will be sought is $      , of
                     which $      was paid prior to filing. The Debtor(s)' attorney requests that the estimated balance of $     be paid through the plan.

4.4 Domestic Support Obligations ("DSO's"). (Check all that apply.)

              None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5 Priority Claims Other than Attorney’s Fees and Those Treated in Section 4.4
             None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
             Section 507(a) priority claims, other than attorney’s fees and domestic support obligations are estimated to be as follows:


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  Creditor Name                                                       Claim for:                                     Est. Claim Amt.
  IRS                                                                 Taxes and certain other debts                  $4,000.00


 Part 5: Unsecured Non-priority Claims
5.1 General Treatment. After confirmation of a plan, holders of allowed, non-priority unsecured claims that are not specially classified in § 5.2
     below, will receive a pro rata distribution with other holders of allowed, non- priority unsecured claims from the higher of either the disposable
     income of the Debtor(s) over the applicable commitment period or liquidation test (see paragraph 2.5). Payments will commence after payment
     to the holders of allowed secured, arrearage, unsecured priority, administrative, specially classified unsecured claims, and the Trustee’s fees.

      Except as may be required by the “disposable income” or “liquidation” tests, or as may otherwise be specifically set forth in this Plan, no
      specific distribution to general unsecured creditors is guaranteed under this Plan, and the distribution to such creditors may change depending on
      the valuation of secured claims (including arrears) and/or the amounts which will be paid to holders of priority unsecured claims under this Plan,
      both of which may differ from the treatment set forth in Parts 3 and 4 of this Plan based on claims filed by secured and priority creditors, or
      based on further orders of the Court.

5.2 Co-Debtor and Other Specially Classified Unsecured Claims. (Check one.)
        None. If “None” is checked, the rest of Part 5 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1   The executory contracts and unexpired leases listed below are to be treated as specified. All other executory
      contracts and unexpired leases are rejected. Allowed claims arising from the rejection of executory contracts or
      unexpired leases shall be treated as unsecured non-priority claims under Part 5 of this Plan, unless otherwise
      ordered by the Court. (Check one.)
              None. If “None” is checked, the rest of Part 6 need not be completed or reproduced.



 Part 7:      Miscellaneous Provisions

7.1 Vesting of Property of the Bankruptcy Estate: (Check one.)
    Property of the estate will vest in the Debtor(s) upon:
         plan confirmation.
         discharge
         other:

7.2 Possession and Use of Property of the Bankruptcy Estate: Except as otherwise provided or ordered by the Court, regardless of when property
    of the estate vests in the Debtor(s), property not surrendered or delivered to the Trustee (such as payments made to the Trustee under the Plan)
    shall remain in the possession and control of the Debtor(s), and the Trustee shall have no liability arising out of, from, or related to such property
    or its retention or use by the Debtor(s). The use of property by the Debtor(s) remains subject to the requirements of 11 U.S.C. Â§ 363, all other
    provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

7.3 Rights of the Debtor(s) and Trustee to Object to Claims: Confirmation of the plan shall not prejudice the right of the Debtor(s) or Trustee to
    object to any claim.

7.4 Rights of the Debtor(s) and Trustee to Avoid Liens and Recover Transfers: Confirmation of the plan shall not prejudice any rights the
    Trustee or Debtor(s) may have to bring actions to avoid liens, or to avoid and recover transfers, under applicable law.

 Part 8:      Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions.

                          None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.


 Part 9:      Signatures

9.1        Signatures of Debtor(s) and Debtor(s)' Attorney




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If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for
Debtor(s), if any, must sign below.

 X     /s/ Bronnie Brock Brunson                                              X
       Bronnie Brock Brunson                                                      Signature of Debtor 2
       Signature of Debtor 1

       Executed on            December 31, 2019                                   Executed on


By signing and filing this document, the Debtor(s) certify that the wording and order of the provisions in this Chapter 13 plan are identical
to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions included in Part 8.

 X    /s/ CHAD W. HAMMONDS                                            Date December 31, 2019
      CHAD W. HAMMONDS                                                                 MM/DD/YYYY
      Signature of Attorney for Debtor(s)
If this document is also signed and filed by an Attorney for Debtor(s), the Attorney also certifies, that the wording and order of the
provisions in this Chapter 13 plan are identical to those contained in E.D.N.C. Local Form 113, other than any nonstandard provisions
included in Part 8.




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